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UNITED STATES DISTRICT COURT

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Western District of Tennessee

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UNITED STATES OF AMERICA '
Piaintiff, MfMiiT§O\lLD 1
aim US 1:¢`\`r-.sicxm
-' “J;M "I`:§`
VS- case Number 2:02cR26?£-@§»0-1-D”PHS

ERIC DORMAYER
Defendant.

J'UDGMENT AND COMMITMENT CRDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November l, 1987)

The defendant, Eric Dormayer, was represented by Doris Randle-Holt, Esq.

It appearing that the defendant, who was convicted on January 22, 2003, in the above
styled cause and was placed on Supervised Release for a period of two (2) years and has
violated the terms of Supervised Release.-

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau

of Prisons to be imprisoned for a term of eight (8) months with no further term of
Supervised Release.

The Court made a recommendation to the United States Bureau of Prisons that the
defendant be placed in a Halfway House as soon as possible.

The defendant is remanded to the custody of the United States Marshal.

Signed this the &L_-L_ day of August, 2005.

 

UN ED STATES DISTRIC'I' JUDGE
This document entered on the docket s o l a y

w|th Fluie 55 and/or 32(b) FRCrP on

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 08/17/1979

U.S. Marshal No.: 18403-076

Defendant's Mailinq Address: 825 East Parkwav South, Memphis, TN 38104

 

 

 

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PDA

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Honorable Bernice Donald
US DISTRICT COURT

